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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    GABRIELA CABRERA,              )    CASE NO. CV 20-11448 MWF (PDx)
                                       )
  12                   Plaintiff,      )    ORDER RE COURT TRIAL
                                       )
  13         v.                        )    I.     ORDER RE DEADLINES
                                       )
  14    SANDRA WANG, et al.,           )    II.    ORDER RE TRIAL
                                       )           PREPARATION
  15                   Defendants.     )
                                       )    III.   ORDER GOVERNING
  16                                   )           CONDUCT OF ATTORNEYS
                                       )           AND PARTIES
  17                                   )
                                       )    Trial: May 24, 2022
  18    ______________________________ )    Time: 8:30 a.m.
  19    ///
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   1                                             I.
   2                                     DEADLINES
   3     Last Day to Add Parties/Amend                August 31, 2021
   4     Pleadings
         Non-expert Discovery Cut-off                 January 28, 2022
   5
   6     Expert Disclosure (Initial)                  January 14, 2022
   7
         Expert Disclosure (Rebuttal)                 February 11, 2022
   8
   9     Expert Discovery Cut-off                     February 25, 2022

  10     Last Day to Hear Motions                     February 28, 2022
  11
         Last Day to Conduct ADR Proceeding           March 11, 2022
  12
  13     File Status Report Regarding                 April 11, 2022
         Settlement
  14     File Motions In Limine
  15     Lodge Pretrial Conference Order              April 18, 2022
         File Oppositions to Motions in Limine
  16     Lodge Findings of Fact and                   May 2, 2022
         Conclusions of Law, and Summaries
  17     of Direct Testimony
  18     Final Pretrial Conference and Hearing        May 2, 2022, at 11:00 a.m.
         on Motions in Limine
  19
         Trial Date (Est. 2 to 3 Days)                May 24, 2022, at 8:30 a.m.
  20
  21
  22    ///
  23    ///
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   1          A.     PARTIES/PLEADINGS
   2          The Court has established a cut-off date for adding parties or amending
   3    pleadings. All motions to add parties or to amend the pleadings must be noticed
   4    to be heard on or before the cut-off date. All unserved parties will be dismissed
   5    at the time of the pretrial conference pursuant to Local Rule 16-8.1.
   6          B.     DISCOVERY AND DISCOVERY CUT-OFF
   7          1.     Discovery Cut-off: The Court has established a cut-off date for
   8    discovery, including expert discovery, if applicable. This is not the date by which
   9    discovery requests must be served; it is the date by which all discovery, including
  10    all hearings on any related motions, is to be completed.
  11          2.     Discovery Disputes: Counsel are expected to comply with all
  12    Federal Rules of Civil Procedure and the Local Rules concerning discovery.
  13    Whenever possible, the Court expects counsel to resolve discovery problems
  14    among themselves in a courteous, reasonable and professional manner. The
  15    Court expects that counsel will adhere strictly to the Civility and Professionalism
  16    Guidelines (which can be found on the Court’s website under Attorney
  17    Information, Attorney Admissions).
  18          3.     Discovery Motions: Any motion challenging the adequacy of
  19    discovery responses must be filed, served, and calendared sufficiently in advance
  20    of the discovery cut-off date to permit the responses to be obtained before that
  21    date if the motion is granted.
  22          4.     Depositions: All depositions shall commence sufficiently in advance
  23    of the discovery cut-off date to permit their completion and to permit the
  24    deposing party enough time to bring any discovery motions concerning the
  25    deposition before the cut-off date. Given the requirements to “meet and confer”
  26    and to give notice, in most cases a planned motion to compel must be discussed
  27    with opposing counsel at least six weeks before the cut-off.
  28    ///

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   1          5.        Written Discovery: All interrogatories, requests for production of
   2    documents and requests for admissions must be served sufficiently in advance of
   3    the discovery cut-off date to permit the discovering party enough time to
   4    challenge (via motion practice) responses deemed to be deficient.
   5          6.        Expert Discovery: All disclosures must be made in writing. The
   6    parties should begin expert discovery shortly after the initial designation of
   7    experts. The final pretrial conference and trial dates will not be continued merely
   8    because expert discovery is not completed. Failure to comply with these or any
   9    other orders concerning expert discovery may result in the expert being excluded
  10    as a witness.
  11          C.        LAW AND MOTION
  12          1.        The Court has established a cut-off date for the hearing of motions.
  13    All motions must be noticed so that the hearing takes place on or before the
  14    motion cut-off date. Counsel are advised that the Court may close a hearing date
  15    once the number of motions filed exceeds the maximum number of motions that
  16    reasonably can be heard on that date. Counsel should anticipate that a preferred
  17    hearing date may be unavailable. Therefore, to avoid being unable to file a
  18    motion to be heard by the cut-off date, counsel should file motions sufficiently in
  19    advance of the hearing cut-off date to ensure that a hearing date is available.
  20          2.        Counsel must provide Chambers with mandatory Chambers copies
  21    of all documents. Chambers copies should not be put in envelopes. Counsel
  22    should consult the Court’s website at www.cacd.uscourts.gov, Judges’ Procedures
  23    and Schedules, Hon. Michael W. Fitzgerald for further information regarding
  24    Chambers copies and motion procedures.
  25          D.        SETTLEMENT PROCEDURES
  26          Counsel must complete a settlement conference under the Court-Directed
  27    ADR Program no later than the date set by the Court. If the parties desire to
  28    participate in an ADR procedure other than that elected in the Rule 26(f)

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   1    Scheduling Report and Order, they shall file a stipulation with the Court. this
   2    request will not necessarily be granted.
   3          No case will proceed to trial unless all parties, including the principals of
   4    all corporate parties, have appeared personally at a settlement conference.
   5          E.     FINAL PRETRIAL CONFERENCE
   6          1.     A final pretrial conference date has been set pursuant to Rule 16 of
   7    the Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for
   8    good cause, each party appearing in this action shall be represented at the final
   9    pretrial conference by the lead trial counsel for that party. Counsel should be
  10    prepared to discuss streamlining the trial, including presentation of testimony by
  11    deposition excerpts or summaries, time limits, stipulations as to undisputed facts,
  12    and qualification of experts by admitted resumes. The Court encourages, but does
  13    not require, counsel to agree to submit direct testimony of witnesses by way of
  14    declaration or written statement confirmed under oath by the witness.
  15          2.     The Court encourages, but does not require, counsel to agree to
  16    submit direct testimony of witnesses by way of declaration or written statement
  17    confirmed under oath by the witness. See Local Rule 16-11.2(b).
  18                                               II.
  19                                 TRIAL PREPARATION
  20          A.     PRETRIAL DOCUMENTS
  21          1.     ALL PRETRIAL DOCUMENT COPIES DELIVERED TO THE
  22    COURT SHALL BE “BINDER-READY” (three-hole punched on the left side,
  23    without blue-backs, and stapled only in the top left corner).
  24          2.     STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
  25    THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
  26    REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES
  27    FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
  28    contentions of fact and law, witness lists, a joint exhibit list, and a proposed final

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    1   pretrial conference order shall be submitted in accordance with the Rules, and the
    2   format of the proposed final pretrial conference order shall conform to the format
    3   set forth in Appendix A to the Local Rules. Failure to comply with these
    4   requirements may result in the final pretrial conference being taken off-calendar
    5   or continued, or in other sanctions.
    6         3.     The filing schedule for pretrial documents is as follows.
    7                a.     At least 21 days before final pretrial conference:
    8                       •     Memoranda of contentions of fact and law
    9                       •     Witness lists
   10                       •     Joint exhibit list
   11                       •     Motions in limine
   12                b.     At least 14 days before final pretrial conference:
   13                       •     Proposed final pretrial conference order
   14                       •     Statement of the case
   15                       •     Oppositions to motions in limine
   16                c.     At least 21 days before trial:
   17                       •     Proposed findings of fact and contentions of law, if the
   18                             matter requires them
   19                d.     At least 7 days before trial:
   20                       •     Trial briefs, if desired
   21                       •     Opposing parties’ proposed findings of fact and
   22                             conclusions of law, marked as described in this Order.
   23         4.     In addition to the requirements of Local Rule 16, the witness lists
   24   must include a brief description (one or two paragraphs) of the testimony and a
   25   time estimate for both direct and cross-examination (separately stated). See
   26   attached samples.
   27   ///
   28   ///

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    1         B.     MOTIONS IN LIMINE
    2         Each party is limited to five (5) motions in limine, unless the Court grants
    3   leave to file additional motions. All motions and oppositions are limited to ten
    4   (10) pages in length. All motions in limine must be filed at least three weeks
    5   before the final pretrial conference; oppositions must be filed at least two weeks
    6   before the final pretrial conference; reply briefs will not be accepted. Counsel are
    7   to meet and confer with opposing counsel to determine whether opposing counsel
    8   intend to introduce the disputed evidence and to attempt to reach an agreement
    9   that would obviate the motion.The Court will rule on motions in limine at the
   10   final pretrial conference. Motions in limine should address specific issues (e.g.,
   11   not “to exclude all hearsay”). Motions in limine should not be disguised motions
   12   for summary adjudication of issues.
   13         C.     PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF
   14                LAW
   15         1.     For any matter requiring findings of fact and conclusions of law,
   16   counsel for each party shall, no later than 21 days before trial, file with the Court
   17   and serve on opposing counsel that party’s proposed findings of fact and
   18   conclusions of law in the format specified in Local Rule 52-3.
   19         2.     Seven days before the trial date, each counsel shall file with the
   20   Court and serve on opposing counsel a copy of the opposing party’s proposed
   21   findings of fact and conclusions of law, marked as follows:
   22                a.     Strike through those portions the party disputes;
   23                b.     Bold those portions the party admits; and
   24                c.     Underline those portions the party admits but considers
   25                       irrelevant.
   26         3.     Counsel need not make a uniform determination as to an entire
   27   proposed finding or conclusion, and may agree with a portion, dispute another
   28   portion, and consider a portion irrelevant. Counsel should, however, have only a

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    1   single fact or conclusion of law contained in each paragraph.
    2         4.     The parties may submit supplemental proposed findings of fact and
    3   conclusions of law during the course of the trial. If more than five supplemental
    4   findings are proposed, the same designating procedures should be used.
    5         5.     At the time of filing, each party also must submit its own unmarked
    6   proposed findings of fact and conclusions of law to the Chambers e-mail box in
    7   Word or WordPerfect format.
    8         D.     TRIAL EXHIBITS
    9         1.     Exhibits must be placed in three-ring binders indexed by exhibit
   10   number with tabs or dividers on the right side. Counsel shall submit to the Court
   11   an original and two copies of the binders. The spine portion of the binder shall
   12   indicate the volume number and contain an index of each exhibit included in the
   13   volume.
   14         2.     The Court requires that the following be submitted to the Courtroom
   15   Deputy Clerk (“CRD”) on the first day of trial:
   16                a.     The binder of original exhibits with the Court’s exhibit tags,
   17   yellow tags for plaintiff and blue tags for defendant, stapled to the front of the
   18   exhibit on the upper right-hand corner with the case number, case name, and
   19   exhibit number placed on each tag.
   20                b.     Two binders with a copy of each exhibit tabbed with numbers
   21   as described above for use by the Court. (Exhibit tags are not necessary on these
   22   copies.)
   23                c.     Three copies of exhibit lists.
   24                d.     Three copies of witness lists in the order in which the
   25   witnesses may be called to testify.
   26                e.     Exhibit tags may be obtained from the receptionist in the
   27   Public Intake Section, located on the Main Street level of the courthouse at 312
   28   North Spring Street, Room G-19. Digital exhibit tags are also now available on

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    1   the Court's website under Court Forms > General Forms > Form G-14A
    2   (Plaintiff) and G-14B (Defendant). Digital exhibit tags may be used in place of
    3   the tags obtained from the Clerk's Office.
    4         3.     All counsel are to meet not later than ten days before trial and to
    5   stipulate, so far as is possible, to foundation, to waiver of the best evidence rule
    6   and to those exhibits that may be received into evidence at the start of the trial.
    7   The exhibits to be so received will be noted on the extra copies of the exhibit lists.
    8         E.     TRIAL
    9         Trial days are Tuesday through Friday from 9:00 a.m. to approximately
   10   4:30 p.m. with two fifteen-minute breaks and a one-hour lunch break.
   11         F.     COURT REPORTER
   12         Any party requesting special court reporter services for any hearing (i.e.,
   13   real time transmission, daily transcripts) shall notify the reporter at least 2 weeks
   14   before the hearing date.
   15                                            III.
   16                   CONDUCT OF ATTORNEYS AND PARTIES
   17         A.     OPENING STATEMENTS, EXAMINING WITNESSES, AND
   18                SUMMATION
   19         1.     Counsel must use the lectern.
   20         2.     Counsel must not consume time by writing out words, drawing
   21   charts or diagrams, etc. Counsel may prepare such materials in advance.
   22         3.     The Court will honor (and may establish) reasonable time estimates
   23   for opening statements and closing arguments, examination of witnesses, etc.
   24         B.     OBJECTIONS TO QUESTIONS
   25         1.     Counsel must not use objections for the purpose of making a speech,
   26   recapitulating testimony, or attempting to guide the witness.
   27         2.     When objecting, counsel must rise to state the objection and state
   28   only that counsel objects and the legal ground of objection. If counsel wishes to

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     1   argue an objection further, counsel must ask for permission to do so.
     2         C.     GENERAL DECORUM
     3         1.     Counsel should rise when addressing the Court, and when the Court
     4   enters or leaves the courtroom.
     5         2.     Counsel should not approach the CRD or the witness box without
     6   specific permission and must return to the lectern when the purpose for
     7   approaching has been accomplished.
     8         3.     Counsel should address all remarks to the Court. Counsel are not to
     9   address the CRD, the court reporter, persons in the audience or opposing counsel.
   10    If counsel wish to speak with opposing counsel, counsel must ask permission to
   11    do so. Any request for the re-reading of questions or answers shall be addressed
   12    to the Court. Requests may not be granted.
   13          4.     Counsel should not address or refer to witnesses or parties by first
   14    names alone, with the exception of witnesses under 14 years old.
   15          5.     Counsel must not offer a stipulation unless counsel have conferred
   16    with opposing counsel and have verified that the stipulation will be acceptable.
   17          6.     While Court is in session, counsel must not leave counsel table to
   18    confer with any person in the back of the courtroom unless permission has been
   19    granted in advance.
   20          7.     Counsel shall not make facial expressions, nod, shake their heads,
   21    comment, or otherwise exhibit in any way any agreement, disagreement, or other
   22    opinion or belief concerning the testimony of a witness. Counsel shall admonish
   23    their clients and witnesses not to engage in such conduct.
   24          8.     Where a party has more than one lawyer, only one may conduct the
   25    direct or cross-examination of a particular witness, or make objections as to that
   26    witness.
   27    ///
   28    ///

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     1          D.      PROMPTNESS OF COUNSEL AND WITNESSES
     2          1.      Promptness is expected from counsel and witnesses. Once counsel
     3   are engaged in trial, this trial is counsel’s first priority. The Court will not delay
     4   the trial.
     5          2.      If a witness was on the stand at a recess or adjournment, counsel who
     6   called the witness shall ensure the witness is back on the stand and ready to
     7   proceed when trial resumes.
     8          3.      Counsel must notify the CRD in advance if any witness should be
     9   accommodated based on a disability or for other reasons.
   10           4.      No presenting party may be without witnesses. If a party’s
   11    remaining witnesses are not immediately available and there is more than a brief
   12    delay, the Court may deem that party to have rested.
   13           5.      The Court attempts to cooperate with professional witnesses and
   14    will, except in extraordinary circumstances, accommodate them by permitting
   15    them to be called out of sequence. Counsel must anticipate any such possibility
   16    and discuss it with opposing counsel. If there is an objection, counsel must
   17    confer with the Court in advance.
   18           E.      EXHIBITS
   19           1.      Each counsel should keep counsel’s own list of exhibits and should
   20    note when each has been admitted into evidence.
   21           2.      Each counsel is responsible for any exhibits that counsel secures
   22    from the CRD and must return them before leaving the courtroom at the end of
   23    the session.
   24           3.      An exhibit not previously marked should, at the time of its first
   25    mention, be accompanied by a request that it be marked for identification.
   26    Counsel must show a new exhibit to opposing counsel before the court session in
   27    which it is mentioned.
   28           4.      Counsel are to advise the CRD of any agreements with respect to the

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     1   proposed exhibits and as to those exhibits that may be received without further
     2   motion to admit.
     3         5.     When referring to an exhibit, counsel should refer to its exhibit
     4   number. Witnesses should be asked to do the same.
     5         6.     Counsel must not ask witnesses to draw charts or diagrams nor ask
     6   the Court’s permission for a witness to do so. Any graphic aids must be fully
     7   prepared before the court session starts.
     8         F.     DEPOSITIONS
     9         1.     All depositions to be used at trial, either as evidence or for
   10    impeachment, must be lodged with the CRD on the first day of trial or such
   11    earlier date as the Court may order. Counsel should verify with the CRD that the
   12    relevant deposition is in the CRD’s possession.
   13          2.     In using depositions of an adverse party for impeachment, either one
   14    of the following procedures may be adopted:
   15                 a.     If counsel wishes to read the questions and answers as alleged
   16    impeachment and ask the witness no further questions on that subject, counsel
   17    shall first state the page and line where the reading begins and the page and line
   18    where the reading ends, and allow time for any objection. Counsel may then read
   19    the portions of the deposition into the record.
   20                 b.     If counsel wishes to ask the witness further questions on the
   21    subject matter, the deposition shall be placed in front of the witness and the
   22    witness told to read the relevant pages and lines silently. Then counsel may either
   23    ask the witness further questions on the matter and thereafter read the quotations,
   24    or read the quotations and thereafter ask further questions. Counsel should have
   25    an extra copy of the deposition for this purpose.
   26          3.     Where a witness is absent and the witness’s testimony is offered by
   27    deposition, counsel may (a) have a reader occupy the witness chair and read the
   28    testimony of the witness while the examining lawyer asks the questions, or (b)

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     1   have counsel read both the questions and answers.
     2         G.    USING NUMEROUS ANSWERS TO INTERROGATORIES AND
     3               REQUESTS FOR ADMISSIONS
     4         Whenever counsel expects to offer a group of answers to interrogatories or
     5   requests for admissions extracted from one or more lengthy documents, counsel
     6   should prepare a new document listing each question and answer and identifying
     7   the document from which it has been extracted. Copies of this new document
     8   should be given to the Court and opposing counsel.
     9         H.    ADVANCE NOTICE OF UNUSUAL OR DIFFICULT ISSUES
   10          If any counsel have reason to anticipate that a difficult question of law or
   11    evidence will necessitate legal argument requiring research or briefing, counsel
   12    must give the Court advance notice. Counsel are directed to notify the CRD at
   13    the day’s adjournment if an unexpected legal issue arises that could not have been
   14    foreseen and addressed by a motion in limine. See Fed. R. Evid. 103.
   15
   16          N.B. “COUNSEL,” AS USED IN THIS ORDER, INCLUDES
   17    PARTIES APPEARING IN PROPRIA PERSONA.
   18
   19          IT IS SO ORDERED.
   20
   21    Dated: May 27, 2021                    __________________________________
                                                MICHAEL W. FITZGERALD
   22                                           United States District Judge
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     8                      UNITED STATES DISTRICT COURT
     9                     CENTRAL DISTRICT OF CALIFORNIA
   10
   11                                   )         CASE NO. CV          -MWF( x)
                                        )
   12                   Plaintiff(s),   )         EXHIBIT LIST
                                        )
   13         v.                        )             SAMPLE FORMAT
                                        )
   14                                   )
                                        )
   15                   Defendant(s).   )
         ______________________________ )
   16
   17     EX. No. DESCRIPTION                  IDENTIFIED        ADMITTED
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     8                      UNITED STATES DISTRICT COURT
     9                     CENTRAL DISTRICT OF CALIFORNIA
   10
   11                                   )          CASE NO. CV                 -MWF( x)
                                        )
   12                   Plaintiff(s),   )          WITNESS LIST
                                        )
   13         v.                        )                 SAMPLE FORMAT
                                        )
   14                                   )
                                        )
   15                   Defendant(s).   )
         ______________________________ )
   16
   17                                                  DATES OF TESTIMONY
            WITNESSES FOR PLAINTIFF
   18
                                                  (to be filled in during trial)
   19
   20
   21
   22      WITNESSES FOR DEFENDANT
   23
   24
   25
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